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                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
                                                                             CHANCERY DIVISION                                    CIRCUIT CLERK
                                                                                                                                  COOK COUNTY, IL
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                                                                                                                                  2023CH02147
                                            JENNIFER CONIDI, individually and on                                                  Calendar, 9
                                            behalf of all others similarly situated,                                              21716680

                                                      Plaintiff,                                        Case No. 2023CH02147

                                            v.
                                                                                                        PLAINTIFF’S MOTION FOR CLASS
                                                                                                        CERTIFICATION
                                            LUMINESS DIRECT, LLC d/b/a
                                            LUMINESS COSMETICS and DOES 1-10,

                                                      Defendants.


                                                      Now comes the Plaintiff, JENNIFER CONIDI (“Plaintiff”), by and through her attorneys,

                                            and brings this Motion for Class Certification against Defendant LUMINESS DIRECT, LLC d/b/a

                                            LUMINESS COSMETICS (“Luminess”), individually and on behalf of a class of all others

                                            similarly situated. In support thereof, Plaintiff alleges and states as follows:

                                                      1.       As alleged in Plaintiff’s Complaint, Defendants’ Website contains a “Find My

                                            Shade” tool (the “Tool”), which allows users to take a photograph of their face using their

                                            computer’s or mobile device’s camera. The Tool then modifies the user’s photograph to allow the

                                            user to “try on” a Luminess makeup product, and ostensibly shows the user how she would look

                                            when wearing that product. 1 On or about February 5, 2023, while located in Illinois, Plaintiff

                                            visited the Website to search for some makeup. Plaintiff used the Tool, which accessed her mobile

                                            device or laptop’s camera and took a photograph of her face. The Tool identified the shape and

                                            features of Plaintiff’s face (i.e. her facial geometry) to accurately overlay the makeup product onto

                                            Plaintiff’s facial image.




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                                                https://www.luminesscosmetics.com/foundation-shade-finder
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                                                    2.      As is also alleged in Plaintiff’s Complaint, prior to taking Plaintiff’s biometric

                                            identifiers and/or biometric information, Defendants did not inform Plaintiff, in writing or
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                                            otherwise, that her biometric identifiers and/or biometric information were being captured,

                                            collected, stored, used, obtained, or disseminated. Defendants did not seek, and Plaintiff was never

                                            provided, informed written consent relating to the collection, capture, use, storage, dissemination,

                                            or disclosure of her biometric identifiers and/or biometric information. Defendants did not publish

                                            any policy specifically about the collection, retention, use, deletion, or dissemination of such

                                            biometric identifiers and/or biometric information. In fact, Defendants did not publish any policy

                                            as to a biometric retention schedule or guidelines for permanently destroying biometric identifiers

                                            and/or biometric information.

                                                    3.      As is also alleged in Plaintiff’s Complaint, by failing to comply with BIPA,

                                            Defendants violated Plaintiff’s substantive rights to maintain control over the privacy of her

                                            biometric identifiers and biometric information. As a result, Defendants injured Plaintiff by

                                            depriving her of the power and ability to make informed decisions about the collection, storage,

                                            and use of her biometric information and biometric identifiers.

                                                    4.      Plaintiff brings claims, pursuant to 740 ILCS 14/1, et seq., individually and on

                                            behalf of the following class (the “Class”):

                                                            All individuals who were located in Illinois and whose biometric
                                                            identifiers and/or biometric information were captured, collected,
                                                            obtained, stored, used, disclosed, redisclosed, disseminated,
                                                            transmitted, sold leased, traded, or profited from by Defendants
                                                            within five years prior to the filing of this lawsuit through the date
                                                            of class certification.

                                                    5.      Illinois Rule of Civil Procedure section 5/2-801 states that an action may be

                                            maintained as a class action in any court of this state if the court finds that:

                                                            (1)     The class is so numerous that joinder of all members is impracticable.

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                                                           (2)     There are questions of fact or law common to the class, which common

                                                                   questions predominate over any questions affecting only individual
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                                                                   members.

                                                           (3)     The representative parties will fairly and adequately protect the interest of

                                                                   the class.

                                                           (4)     The class action is an appropriate method for the fair and efficient

                                                                   adjudication of the controversy.

                                            735 ILCS 5/2-801.

                                                   6.      The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of

                                            Civil Procedure for maintaining a class action, specifically:

                                                           a.      Upon information and belief, the Class is so numerous that joinder of all of

                                                                   its members is impracticable. On information and belief there are thousands

                                                                   of individuals who fall within the Class definition set forth above within the

                                                                   applicable statute of limitations period.

                                                           b.      There are questions of fact and/or law which are common to the Class and

                                                                   which predominate over questions affecting any individual Class members.

                                                                   These common questions of fact and law include, but are not limited to:

                                                                   i.      Whether Defendants collected, captured, received, otherwise

                                                                           obtained, stored, and/or used biometric identifiers and/or biometric

                                                                           information from Plaintiff and the Class members;

                                                                   ii.     Whether Defendants first informed Plaintiff and the Class members

                                                                           in writing that they would be collecting, capturing, receiving,




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                                                                    otherwise obtaining, storing, and/or using their biometric identifiers

                                                                    and/or biometric information;
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                                                            iii.    Whether Defendants first informed Plaintiff and the Class members

                                                                    in writing of the specific purpose and length of term for which their

                                                                    biometric identifiers and/or biometric information would be

                                                                    collected, captured, received, otherwise obtained, stored, and/or

                                                                    used;

                                                            iv.     Whether Defendants first obtained a written release from Plaintiff

                                                                    and the Class members before capturing, collecting, and/or

                                                                    otherwise obtaining their biometric information and/or biometric

                                                                    identifiers;

                                                            v.      Whether Defendants established a publicly available policy for

                                                                    retention of biometric identifiers and/or biometric information

                                                                    sufficient to satisfy 740 ILCS § 14/15(c);

                                                            vi.     Whether Defendants disclosed, redisclosed, and/or disseminated the

                                                                    biometric identifiers and/or biometric information of Plaintiff and

                                                                    the Class members;

                                                            vii.    Whether Defendants obtained the consent of Plaintiff and the Class

                                                                    members to disclose, redisclose, and/or disseminate their biometric

                                                                    information and/or biometric identifiers;

                                                            viii.   Whether Defendants traded, sold, leased, and/or otherwise profited

                                                                    from their possession of the biometric identifiers and/or biometric

                                                                    information of Plaintiff and the Class members;



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                                                            ix.      Whether Defendants’ conduct violates BIPA;

                                                            x.       Whether Defendants’ conduct is negligent;
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                                                            xi.      Whether Defendants’ violations of BIPA are intentional and/or

                                                                     reckless; and

                                                            xii.     Whether Plaintiff and the Class members are entitled to damages

                                                                     and injunctive relief.

                                                     c.     Plaintiff’s claims are typical of the Class, which all arise from the same

                                                            operative set of facts and are based on the same legal theories.

                                                     d.     Plaintiff has no interests adverse or antagonistic to the interests of the other

                                                            Class members.

                                                     e.     Plaintiff will fairly and adequately protect the interests of the Class and

                                                            Plaintiff has retained experienced and competent attorneys to represent the

                                                            Class.

                                                     f.     This class action is a fair and efficient adjudication of the controversy

                                                            alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

                                                            be encountered in the management of this class action.

                                                     g.     This class action will permit large numbers of similarly situated persons to

                                                            prosecute their common claims in a single forum simultaneously and

                                                            without the duplication of effort and expense that numerous individual

                                                            actions would engender. This class action will also permit the adjudication

                                                            of relatively small claims by many Class members who would not otherwise

                                                            be able to afford to seek legal redress for the wrongs complained of herein.

                                                            Absent a class action, Class members will continue to suffer losses of their



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                                                                   legally protected rights, as well as monetary damages. If Defendants’

                                                                   conduct is allowed proceed to without remedy, Defendants will continue to
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                                                                   benefit financially from such conduct.

                                                           h.      Defendants have acted or failed to act on grounds generally applicable to

                                                                   the entire Class, thereby making it appropriate for the Court to order final

                                                                   monetary, injunctive, and declaratory relief with respect to the Class as a

                                                                   whole.

                                                   7.      Plaintiff believes that upon completion of discovery in this matter, Plaintiff will be

                                            able to prove each of the allegations to the satisfaction of this Court. Therefore, Plaintiff requests

                                            the Court defer any ruling on this motion until after all discovery has been completed and Plaintiff

                                            has filed an amended or supplemental motion for class certification.

                                                   Wherefore, Plaintiff respectfully requests this Honorable Court enter an order certifying

                                            the proposed Class, appointing Plaintiff as Class Representative, appointing the undersigned

                                            counsel for Plaintiff as Class Counsel, and authorizing court-facilitated notice of this class action

                                            to the Class, but deferring any ruling on this Motion until after discovery has been completed and

                                            Plaintiff has filed an amended or supplemental motion for class certification.




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                                                                               RESPECFULLY SUBMITTED,

                                                                               JENNIFER CONIDI
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                                                                               By:   ________________________________
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                                                                                     Attorney for Plaintiff
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                                                                                     Northbrook, IL 60062
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                                                                                     dlevin@toddflaw.com




                                                                                     ________________________________
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                                                                                     Attorney for Plaintiff
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                                                                            CERTIFICATE OF SERVICE

                                                   The undersigned hereby certifies that on March 3, 2023, a copy of Plaintiff’s Motion for
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                                            Class Certification was served upon the following party, by depositing the same in the U.S. Mail,

                                            with proper first-class postage prepaid thereon:

                                                           Luminess Direct, LLC
                                                           c/o: Meyer, Knight, Steadman & Taxis, LLC, Registered Agent
                                                           5005 Riverway Drive, Suite 205
                                                           Houston, TX 77056




                                                                                                   ________________________________
                                                                                                   David B. Levin
                                                                                                   Attorney for Plaintiff




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      Location: <<CourtRoomNumber>>
      Judge: Calendar, 9
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